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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                             (

                             CASE NO. 18-60073-CR-DIMITROULEASI




    UNITED STATES OF AMERICA

    vs.

    RAYMOND ODIGIE UADIALE,
    a/k/a, "Mike Roland,"

                                  Defendant.
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                                   r-     PLEA AGREEMENT

           The United States Attorney's Office for the Southern District.ofFlorida ("this Office") and

    Raymond Odigie Uadiale (hereinafter referred to as the "defendant") enter into the following

    agreement:

           1. The defendant agrees to plead guilty to Count 1 of the indictment, which count charges

    the defendant with conspiracy to commit money laundering, in violation of Title 18, United States

    Code, Section 1956(h).

           2. This Office agrees to seek dismissal of count 2 of the indictment, as to this defendant,

    after sentencing.

           3. The defendant is aware that the sentence will be imposed by the Court after considering

    the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter "Sentencing

    Guidelines").   The defendant acknowledges and understands that the Court will compute an

    advisory sentence under the Sentencing Guidelines and that the applicable guidelines will be

    determined by the Court relying in part on the results of a pre-sentence investigation by the Court's

   . probation office, which investigation will commence after the guilty plea has been entered. The
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    defendant is also aware that, under certain circumstances, the Court may depart from the advisory

    sentencing guideline range that it has computed, and may raise or lower that advisory sentence

    under the Sentencing Guidelines. The defendant is further aware and understands that the Court

    is req\lired to consider the advisory guideline range determined under the Sentencing Guidelines,

    but is not bound to impose a sentence within that advisory range; the Court is permitted to tailor

    the ultimate sentence in light of other statutory concerns, and such sentence may be either more

    severe or less severe than the Sentencing Guidelines' advisory range. Knowing these facts, the

    defendant understands and acknowledges that the Court has the authority to impose any sentence

    within and up to the statutory maximum authorized by law for the offense identified in paragraph

    1 and that the defendant may not withdraw the plea solely as a result of the sentence imposed.

           4.   The defendant also understands and acknowledges that the Court may impose a

    statutory maximum term of imprisonment of up to 20 years, followed by a term of supervised

    release of up to 3 years. In addition to a term of imprisonment and supervised release, the Court

    may impose a fine of up to $500,000 and may order forfeiture and restitution.

           5. The defendant further understands and acknowledges that, in addition to any sentence

    imposed under paragraph 4 of this agreement, a special assessment in the amount of $100 will be

    imposed on the defendant. The defendant agrees that any special assessment imposed shall be

    paid at the time of sentencing. If a defendant is financially unable to pay the special assessment,

    the defendant agrees to present evidence to this Office and the Court at the time of sentencing as

    to the reasons for the defendant's failure to pay.

           6. This Office reserves the right to inform the Court and the probation office of all facts

    pertinent to the sentencing process, including all relevant information concerning the offenses

    committed, whether charged or not, as well as concerning the defendant and the defendant's
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    background. Subject only to the express terms of any agreed-upon sentencing recommendations

    contained in this agreement, this Office further reserves the right to make any recommendation as

    to the quality and quantity of punishment.

           7. This Office agrees that it will recommend at sentencing that the Court reduce by two

    levels the .sentencing guideline level applicable to the defendant's offense, pursuant to Section

    3El.1(a) of the Sentencing Guidelines, based upon the defendant's recognition and affirmative

    and timely acceptance of personal responsibility. If at the time of sentencing the defendant's

    offense level is determined to be 16 or greater, this Office will file a motion requesting an

    additional one level decrease pursuant to Section 3E 1.1 (b) of the Sentencing Guidelines, stating

   that the defendant has assisted authorities in the investigation or prosecution of the defendant's

    own misconduct by timely notifying authorities of the defendant's intention to enter a plea of

    guilty, thereby permitting the government to avoid preparing for trial and permitting the

    government and the Court to allocate their resources efficiently. This Office further agrees to

    recommend that the defendant be sentenced at the low end of the guideline range, as that range is

    determined by the Court. This Office, however, will not be required to make this motion and

   these recommendations if the defendant: (1) fails or refuses to make a full, accurate and complete

    disclosure to the probation office of the circumstances surrounding the relevant offense conduct;

    (2) is found to have misrepresented facts to the government prior to entering into this plea

    agreement; or (3) commits any misconduct after entering into this plea agreement, including but

    not limited to committing a state or federal offense, violating any term of release, or making false

    statements or misrepresentations to any governmental entity or official.




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           8. This Office and the defendant agree that, although not binding on the probation office

    or the Court, they will jointly recommend that the Court make the following findings and

    conclusions as to the sentence to be imposed:

           (1). Thatthe base offense level should be calculated under§ 2S1.l(a)(2) ofthe Sentencing

           Guidelines;

           (2). That the value of laundered f~mds, for purposes of determining the base offense level,

           is more than $40,000 but less than $95,000.

           9.      The defendant agrees that he shall cooperate fully with this Office by: (a) providing

    truthful and complete information and testimony, and producing documents, records and other

    evidence, when called upon by this Office, whether in interviews, before a grand jury, or at any

    trial or other Court proceeding; (b) appearing at such grand jury proceedings, hearings, trials, and

    other judicial proceedings, and ~t meetings, as may be required by this Office; and (c) if requested

    by this Office, working in an undercover role under the supervision of, and in compliance with,

    law enforcement officers and agents. In addition, the defendant agrees that he will not protect

    any person or entity through false information or omission, that he will not falsely implicate any

    person or entity, and that he that he will not commit any further crimes.

           10.     This Office reserves the right to evaluate the nature and extent of the defendant's

    cooperation and to make that cooperation, or lack thereof, known to the Court at the time of

    sentencing. If in the sole and unreviewable judgment of this Office the defendant's cooperation

    is of such quality and significance to the investigation or prosecution of other criminal matters as

    to warrant the Court's downward departure from the advisory sentencing range calculated under

    the Sentencing Guidelines and/or any applicable minimum mandatory sentence, this Office may

    make a motion prior to sentencing pursuant to Section 5K 1.1 of the Sentencing Guidelines and/or
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    Title 18, United States Code, Section 3553(e), or subsequent to sentencing pursuant to Rule 35 of

    the Federal Rules of Criminal Procedure, informing the Court that the defendant has provided

    substantial assistance and recommending that the defendant's sentence be reduced.                 The

    defendant understands and agrees, however, that nothing in this agreement requires this Office to

    file any such motions, and that this Office's assessment of the quality and significance of the

    defendant's cooperation shall be binding as it relates to the appropriateness of this Office's filing

    or non-filing of a motion to reduce sentence.

            11.    The defendant understands and acknowledges that the Court is under no obligation

    to grant a motion for reduction of sentence filed by this Office. In addition, the defendant further

    understands and acknowledges that the Court is under no obligation of any type to reduce the

    defendant's sentence because ofthe defendant's cooperation.

            12.    The defendant further agrees to forfeit to the United States, pursuant to Title 18,

    United States Code, Sections 1956(h) and 982(a)(1), and the procedures outlined at Title 21,

    United States Code, Section 853, any property, real or personal, involved in such offense, or any

    property traceable to such property, including but not limited to the following property: Twenty-

    Six Thousand dollars ($26,000.00) in U.S. currency.

            13. The defendant also agrees to fully cooperate with the Government in all proceedings,

    whether administrative or judicial, involving the forfeiture to the United States of all rights, title,

    and interest, regardless of their nature or form, in all assets, including real and personal property,

    cash and other monetary instruments, wherever located, which the defendant or others to the

    defendant's knowledge have accumulated as a result of illegal activities. Such assistance will

    involve the defendant's agreement to the entry of an order enjoining the transfer or encumbrance

    of assets that may be identified as being subject to forfeiture. Additionally, defendant agrees to
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    identify as being subject to forfeiture all such assets, and to assist in the transfer of such property

   to the United States by delivery to this Office upon this Office's request, all necessary and

   appropriate documentation with respect to said assets, including consen~s to forfeiture, quit_ claim

   deeds and any and all other documents necessary to deliver good and marketable title to said

   property.

           14.     The defendant agrees to waive notification about any forfeiture proceedings,

   whether administrative or judicial and agrees to waive any statute of limitation considerations.

           15.     The defendant further agrees to waive presentation of the forfeiture matter to a jury

   and agrees to waive any constitutional challenges to the forfeiture, including any challenges under

   the Eighth Amendment to the United States Constitution.

           16.    The defendant knowingly and voluntarily wmves all constitutional, legal and

   equitable defenses to the forfeiture of the assets in any judicial or administrative proceeding,

    including any claim or defense under the Eighth Amendment to the United States Constitution,

   waives any applicable time limits to the initiation of administrative orjudicial proceedings, and

   waives any right to appeal the forfeiture.

            17.    The defendant is aware that Title 28, United States Code, Section 1291 and Title

    18, United States Code, Section 3742 afford the defendant the right to appeal the sentence imposed

    in this case. Acknowledging this, in exchange for the undertakings made by the United States in

   this plea agreement, the defendant hereby waives all rights conferred by Sections 1291 and 3742

   to appeal any sentence imposed, including any restitution order, or to appeal the manner in which

   the sentence was imposed, unless the sentence exceeds the maximum permitted by statute or is the

    result of an upward departure and/or an upward variance from the advisory guideline range that

    the Court establishes at sentencing.      The defendant further understands that nothing in this
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    agreement shall affect the government's right and/or .duty to appeal as set forth. in Title 18, United

    States Code, Section 3742(b) and Title 28, United States Code, Section 1291. However, if the

    United States appeals the defendant's sentence pursuant to Sections 3742(b) and 1291, the

    defendant shall be released from the above waiver of his right to appeal his sentence.

            18.    The defendant further hereby waives all rights conferred by Title 28, United States

    Code, Section 1291 to assert any claim that (1) the statute(s) to which the defendant is pleading

    guilty is/are unconstitutional; and/or (2) the admitted conduct does not fall within the scope of the

    statute of conviction.

            19.    By signing this agreement, the defendant acknowledges that the defendant has

    discussed the appeal waiver set forth in this agreement with the defendant's attorney.            The

    defendant further agrees, together with this Office, to request that the Court enter a specific finding

   that the defendant's waiver of his right to appeal the sentence imposed in this case and his right to

    appeal his conviction in the manner described above was knowing and voluntary.

           20.     Defendant recognizes that pleading guilty may have consequences with respect to

    the defendant's immigration status if the defendant is not a natural-born citizen of the United

    States. Under federal law, a broad range of crimes are removable offenses, including the offense

    to which defendant is pleading guilty. In addition, under certain circumstances, denaturalization

    may also be a consequence of pleading guilty to a crime. Removal, denaturalization, and other

    immigration consequences are the subject of a separate proceeding, however, and defendant

    understands that no one, including the defendant's attorney or the Court, can predict to a certainty

    the effect of the defendant's conviction on the defendant's immigration status. The defendant

    nevertheless affirms that the defendant wants to plead guilty regardless of any immigration


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   consequences that the defendant's plea may entail, even if the consequence is the defendant's

   denaturalization and automatic removal from the United States.

          21. The defendant is aware that the sentence has not yet been determined by the Court.

   The defendant also is aware that any estimate of the probable sentencing range or sentence that the

   defendant may receive, whether that estimate comes from the defendant's attorney, this Office, or

   the probation office, is a prediction, not a promise, and is not binding on this Office, the probation

   office or the Court. The defendant understands further that any recommendation that this Office

   makes to the Court as to sentencing, whether pursuant to this agreement or otherwise, is not binding

   on the Court and the Court may disregard the recommendation in its entirety. The defendant

   understands and acknowledges, as previously acknowledged in paragraph 3 above, that the

   defendant may not withdraw his plea based upon the Court's decision not to accept a sentencing

   recommendation made by the defendant, this Office, or a recommendation made jointly by the

   defendant and this Office.

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           22. This is the entire agreement and understanding between this Office and the defendant.

    There are no other agreements, promises, representations, or understandings.


                                                BENJAMIN G. GREENBERG
                                                UNITED STATES ATTORNEY


   Date:
                                                 JARED M. STRAUSS
                                                 ASSISTANT UNITED STATES ATTORNEY


   Date:   &/ 'f / }~
                                                                    Y, U.S. DEP'T OF WSTICE


                                          By:




   Date:                                By:
                                                RAYMOND ODIGIE UADIALE
                                                DEFENDANT




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